                  Case 2:12-cv-02025-MJP Document 6 Filed 01/25/13 Page 1 of 2



 1                                    UNITED STATE DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 2                                             AT SEATTLE
 3
         SHILO HAMACHER,
 4

 5
                                              Plaintiff,        CIVIL CASE NO. 2:12-cv-02025
         v.
 6                                                              NOTICE OF SETTLEMENT
         GC SERVICES, LP.,
 7
                                              Defendant.
 8

 9                                            NOTICE OF SETTLEMENT

10            NOW COMES the Plaintiff, SHILO HAMACHER, by and through the undersigned

11   counsel and hereby informs the court that a settlement of the present matter has been reached and

12   is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the

13   next 60 days.

14            Plaintiff therefore requests that this honorable court vacate all dates currently set on

15   calendar for the present matter.

16                                                  Respectfully Submitted,

17

18   DATED: January 25, 2013                               KROHN & MOSS, LTD.

19

20                                                  By: /s/ Sharon Cousineau
                                                           Sharon Cousineau, Esq.
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     Plaintiff’s Notice of Settlement - 1 -                                                                          Sh
                                                                                     Samwel, Cousineau & Shea, PC
                                                                                      700 West Evergreen Boulevard
                                                                              Tel. 360-750-3789 / Fax 360-750-3788
                  Case 2:12-cv-02025-MJP Document 6 Filed 01/25/13 Page 2 of 2



 1                                            CERTIFICATE OF SERVICE
 2   I hereby certify that on January 25, 2013, I electronically filed the foregoing Notice of
 3
     Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice
 4
     was electronically submitted to all parties by the Court’s CM/ECF system.
 5

 6
                                                           By:/s/ Sharon Cousineau
 7                                                           Sharon Cousineau, Esq.

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     Plaintiff’s Notice of Settlement - 2 -                                                                   Sh
                                                                              Samwel, Cousineau & Shea, PC
                                                                               700 West Evergreen Boulevard
                                                                       Tel. 360-750-3789 / Fax 360-750-3788
